                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:
Steven Carl Landin,                                          Bky. Case No. 23-41323
                                                             Chapter 7
               Debtor.


                         APPLICATION TO EMPLOY ATTORNEY


To: All parties in interest as listed in Local Rule 9013-3(a)(2)

       1.      Applicant is the trustee in this case.

       2.      Applicant believes that the employment of an attorney is necessary to represent or
               assist the Trustee in carrying out the trustee's duties as follows: objecting to
               debtor's exemptions, pursue any avoidance actions; commence any adversary
               proceedings, represent the estate with any transfer of real property and with legal
               matters as needed.

       3.      Ahlgren Law Office is qualified by reason of practice and experience to render such
               representation or assistance.

       4.      Proposed compensation and reimbursement of expenses is as follows: $250 to $300
               per hour plus all out-of-pocket expenses.

       5.      Said professional has disclosed to the undersigned that he has the following
               connections with the Debtor(s), creditors, any other party-in-interest, their
               respective attorneys and accountants, the United States Trustee or any person
               employed in the Office of the United States Trustee: None except that Erik A.
               Ahlgren is the Trustee in this case.

       6.      The trustee has made the following efforts to recover the asset prior to submitting
               this Application: communicated with Debtor's attorney and requested additional
               information.

WHEREFORE, applicant prays that the Court approve such employment by the trustee.

Dated: September 8, 2023                                     /e/ Erik A. Ahlgren____
                                                             Erik Ahlgren, Chapter 7 Trustee
                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:

Steven Carl Landin,                                  Bky. Case No. 23-41323
                                                     Chapter 7
            Debtor.

______________________________________________________________________________

         VERIFIED STATEMENT PURSUANT TO FEDERAL RULE 2014(a)
______________________________________________________________________________

       I, Erik A. Ahlgren of Ahlgren Law Office, PLLC, the professional named in the
application for employment on behalf of the above named bankruptcy estate, declares
under penalty of perjury the following:

      1.    I do not hold or represent any interest adverse to the estate and am
            disinterested as required by 11 U.S.C. § 327.

      2.    I do not have any connections to the debtor, creditors, any other party-in-
            interest, their respective attorneys and accountants, the United State
            trustee, or any person employed in the offices of the United States Trustee,
            except for the following: I am the trustee in the above referenced
            bankruptcy case.

      Dated: September 8, 2023                /e/ Erik A. Ahlgren______
                                              Erik A. Ahlgren (191814)
                                              Ahlgren Law Office, PLLC
                                              220 W Washington Ave Ste 105
                                              Fergus Falls MN 56537
                                              218-998-2775
                                              erik@ahlgrenlawoffice.net
                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MINNESOTA


In re:
Steven Carl Landin,                                   Bky. Case No. 23-41323
                                                      Chapter 7

             Debtor.


                                        ORDER



      The trustee’s application to approve the employment of Ahlgren Law Office,
PLLC, as the trustee’s attorneys came before the court. Based on the application, the
recommendation of the United States Trustee, and 11 United States Code §327,

     IT IS ORDERED: The employment is approved.


DATED:                                         _________________________________
                                               Kesha L Tanabe
                                               United States Bankruptcy Judge
